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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 THE HON. PAULINE NEWMAN,

                                                     Plaintiff,
                 v.                                                          NO. 1:23-CV-01334-CRC

 THE HON. KIMBERLY A. MOORE, ET AL.

                                                     Defendants.




                                                 ORDER

        Upon consideration of the Plaintiff’s Consent Motion for Leave to File Sur-reply to

Defendants’ Reply Memorandum in Support of Their Motion to Dismiss, it is hereby:

        ORDERED that Plaintiff’s motion is GRANTED; and it is further

        ORDERED that Plaintiff is granted leave to file a sur-reply not to exceed four pages, to

be filed no later than December 6, 2023; and it is further

        ORDERED that, no later than one week after Plaintiff files her sur-reply, Defendants may

file a reply no longer than Plaintiff’s sur-reply.

        SO ORDERED

Date: November 29, 2023                                           ______________________________
                                                                   CHRISTOPHER R. COOPER
                                                                   United States District Judge
